

Matter of Wool (2022 NY Slip Op 01371)





Matter of Wool


2022 NY Slip Op 01371


Decided on March 3, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 3, 2022

PM-42-22
[*1]In the Matter of Jason Robert Wool, an Attorney. (Attorney Registration No. 4863767.)

Calendar Date:February 28, 2022

Before:Lynch, J.P., Clark, Aarons, Pritzker and Fisher, JJ.

Jason Robert Wool, Silver Spring, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jason Robert Wool was admitted to practice by this Court in 2010 and lists a business address in Silver Spring, Maryland with the Office of Court Administration. Wool now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Wool's application.
Upon reading Wool's affidavit sworn to January 5, 2022 and filed January 7, 2022, and upon reading the February 23, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Wool is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Fisher, JJ., concur.
ORDERED that Jason Robert Wool's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Jason Robert Wool's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jason Robert Wool is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Wool is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jason Robert Wool shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








